Case 1:19-cv-21711-UU Document 1 Entered on FLSD Docket 05/01/2019 Page 1 of 28




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                               CASE NUMBER:

   WHITNEY BRADLEY, individually and as
   Personal Representative of the Estate of
   WILLIAM BRADLEY, deceased,

               Plaintiff,
   v s.

  UNITED STATES OF AMERICA,

               Defendant.



                            COMPLAINT FOR MEDICAL MALPRACTICE
                            UNDER THE FEDERAL TORT CLAIMS ACT

          Plaintiff, WHITNEY BRADLEY, as Personal Representative of the Estate of WILLIAM

     BRADLEY, deceased, hereby files this Complaint for Medical Malpractice Under the Federal

     Tort Claims Act against Defendant, UNITED STATES OF AMERICA, and states as follows:

                              PARTIES. JURISDICTION, AND VENUE

          1.      This is an action against Defendant, United States of America, under the

     Federal Tort Claims Act, (28 U.S.C. §1346(b)), for medical negligence in connection with

     substandard care and treatment provided to WILLIAM BRADLEY, deceased, by MIAMI

     VETERANS AFFAIRS HEALTHCARE SYSTEM (hereinafter "MIAMI VA"). As outlined

     below, MIAMI VA falls under the Federal Tort Claims Act.

          2.      The decedent, WILLIAM BRADLEY, was a Florida resident who honorably

     served in the United States Navy for 22 years. He retired as a Navy Chief He continued his

     service to the United States in his work with U.S. Customs Service under the Treasury
Case 1:19-cv-21711-UU Document 1 Entered on FLSD Docket 05/01/2019 Page 2 of 28




  WHITNEY BRADLEY. individually and as Personal Representative of the Estate of WILLIAM BRADLEY, deceased vs. UNITED STATES OF
  AMERICA
  Complaint for Medical Malpractice Under the Federal Tort Claims Act




     Department and proceeded to work for U.S. Customs and Border Protection under the

     Department of Homeland Security following the reorganization of the agency in the wake of

     the September 11, 2001 terrorist attacks. As a military veteran, WILLIAM BRADLEY

     received his medical care and treatment from the Department of Veterans Affairs.

           3.        This action is within the jurisdiction of this Court and all jurisdictional requirements

     have been satisfied.

           4.        Plaintiff has fully complied with the provisions of 28 U.S.C. §2675 of the Federal

     Tort Claims Act and Florida Statute Chapter 766.

           5.        This civil action has been timely filed. Plaintiff timely served notices of the claim

     upon the United States Department of Justice within two years of the incident forming the basis

     of this suit.

           6.        Plaintiff files this Complaint pursuant to 28 U.S.C. §2401(b) since they did not

     receive an official denial from the United States Department of Justice after waiting more than

     six months after serving notices upon the United States Department of Justice.

           7.        Venue in the Southern District of Florida is proper under 28 U.S.C. §1402(b) in that

     the acts or omissions forming the basis of this claim occurred in Miami-Dade County, Florida,

     in the Southern District of Florida.

           8.        At all times material, WHITNEY BRADLEY has been appointed the Personal

     Representative of THE ESTATE OF WILLIAM BRADLEY, deceased.

           9.        At all times material, WHITNEY BRADLEY (DOB: 6/5/1993) is the daughter of

     WILLIAM BRADLEY and a statutory surviving minor child under Florida's Wrongful Death
Case 1:19-cv-21711-UU Document 1 Entered on FLSD Docket 05/01/2019 Page 3 of 28




  WHITNEY BRADLEY, individually and as Personal Representative of the Estate of WILLIAM BRADLEY, deceased vs. UNITED STATES OF
  AMERICA
  Complaint for Medical Malpractice Under the Federal Tort Claims Act




     Act (Fla Stat. §768.16 — 768.26).

           10.       At all times material, DALYS BRADLEY (DOB: 9/9/1965) is the widow of

     WILLIAM BRADLEY and is a statutory surviving spouse under Florida's Wrongful Death (Fla

     Stat. §768.16 — 768.26).

           11.       At all times material, the United States of America conducted business as the

     MIAMI VETERANS AFFAIRS HEALTHCARE SYSTEM (MIAMI VA) and owned and

     operated a hospital in Miami-Dade County known as the Miami VA Hospital.

           12.       At all pertinent times, the Defendant acted through its employees, agents, and

     apparent agents of physicians, staff, nurses and technicians including, but not limited to,

     ROBERT BOWLES, M.D., MONISHA BANERJEE, M.D., DAYLEN BURGOS, M.D.,

     KEVIN CHU, M.D., VINCENT DEGANNERO, M.D., MARK GREABER, D.P.M., LISA

    IBATA, A.R.N.P., DEVORAH, KAHN, M.D., NEIL OLARTE, D.O., ABRAHAM KASLOW,

    M.D., ALEX LALL, M.D., JEFFREY MASAI, M.D., and JORGE URBANDT, M.D., were

    responsible for examining and treating the decedent, WILLIAM BRADLEY, when he presented

     as a patient to the MIAMI VA for care and treatment.

           13.      Based upon the actions and conduct of the MIAMI VA and said health care

    providers, the decedent, WILLIAM BRADLEY, believed said health care providers to be

    employees or agents of the Defendant. WILLIAM BRADLEY allowed or agreed to treatment

    by said healthcare providers, based upon their conduct and representation that they were

    employees or employees of the MIAMI VA. Decedent WILLIAM BRADLEY's reliance on

    the conduct and representations of said healthcare providers was to his detriment. WILLIAM

                                                                3
Case 1:19-cv-21711-UU Document 1 Entered on FLSD Docket 05/01/2019 Page 4 of 28




  WHITNEY BRADLEY, individually and as Personal Representative of the Estate of WILLIAM BRADLEY. deceased vs. UNTIED STATES OF
  AMERICA
  Complaint jrO Medical Malpractice Under the Federal Tort Claims Act




     BRADLEY died as a direct and proximate result of the negligent acts and omissions of said

     healthcare providers as set forth in detail below.

           14.       UNITED STATES OF AMERICA is liable for the negligent acts and omissions of

     the health care providers identified in paragraph 12 that were committed in the course and scope

     of their employment, agency and apparent agency

           15.       At all times material hereto, ROBERT BOWLES, M.D. (Attending General

     Surgeon), MONISHA N. BANERJEE, M.D. (General Surgery Resident), DAYLEN BURGOS,

     M.D. (General Surgery Resident), KEVIN CHU, M.D. (General Surgery Resident), VINCENT

     A. DEGANNERO, M.D. (Chief of General Surgery, Attending General Surgeon), ABRAHAM

     M. KASLOW, M.D. (General Surgery Resident), ALEX P. LALL, M.D. (General Surgery

     Resident), and JORGE E. URBANDT, M.D. (Attending General Surgeon), were physicians

     practicing in Miami-Dade County, Florida, who held themselves out to the public, including

     WILLIAM BRADLEY, as General Surgeons, possessing the same skill and expertise as other

     reasonably prudent General Surgeons.

           16.       At all times material hereto, Defendants, DEVORAH C. KAHN, M.D. (Attending

    Internal Medicine Physician) and NEIL OLARTE, D.O. (Internal Medicine Resident) were

    physicians practicing in Miami-Dade County, Florida, who held themselves out to the public,

    including WILLIAM BRADLEY, as internal medicine hospitalists, possessing the same skill

    and expertise as other reasonably qualified and prudent internal medicine hospitalists.

          17.       At all times material hereto, Defendant, JEFFREY N. MASAI, M.D., was a

    radiologist practicing in Miami-Dade County, Florida, who held himself out to the public,

                                                                4
Case 1:19-cv-21711-UU Document 1 Entered on FLSD Docket 05/01/2019 Page 5 of 28




  WHITNEY BRADLEY individually and as Personal Representative of the Estate of WILL/AM BRADLEY deceased vs. UNITED STATES OF
  AMERICA
  Complaintfor Medical Malpractice Under the Federal Tort Claims Act




     including WILLIAM BRADLEY, as a radiologist, possessing the same skill and expertise as

     other reasonably qualified and prudent radiologists.

           18.       At all times material hereto, Defendant, LISA IBATA, ARNP, was an advanced

     registered nurse practitioner in Miami-Dade County, Florida, who held herself out to the public,

     including WILLIAM BRADLEY, as possessing the same skills and expertise as any other

     reasonably qualified advanced registered nurse practitioner.

           19.       At all times material hereto, Defendant, MARK GRAEBER, D.P.M. (General

     Surgery Resident), was a podiatrist practicing in Miami-Dade County, Florida, who held himself

     out to the public, including WILLIAM BRADLEY, as possessing the same skills and expertise

     in the field as other reasonably qualified and prudent podiatrists.

           20.       At all times material hereto, UNITED STATES OF AMERICA, through the

     MIAMI VA HEALTHCARE SYSTEM (MIAMI VA) and its respective employees, owed a

     duty to WILLIAM BRADLEY to perform medical and technical tasks in conformity with the

     prevailing professional standard of care for similar health care providers in light of all the

     relevant surrounding circumstances.

          21.       The undersigned counsel hereby certifies that a reasonable investigation as

     permitted by the circumstances has been conducted and forms the basis for a good faith belief

     that sufficient grounds exist to bring this malpractice action against Defendant.

                                         FACTS GIVING RISE TO CLAIM

          22.           WILLIAM BRADLEY first sought evaluation and treatment at the MIAMI VA

    Emergency Department on June 29, 2016, with complaints of severe abdominal pain and an

                                                               5
Case 1:19-cv-21711-UU Document 1 Entered on FLSD Docket 05/01/2019 Page 6 of 28




  WHITNEY BRADLEY, individually and as Personal Representative of the Estate of WILLIAM BRADLEY deceased vs. UNITED STATES OF
  AMERICA
  Complaint for Medical Malpractice Under the Federal Tort Claims Act




     associated acute constellation of symptoms. He was admitted for eight days (6/29/16 - 7/6/16)

     during which the clinical findings were consistent with acute cholecystitis (acute inflammation

     of      the      gallbladder).        He       underwent         an      invasive        Endoscopic          Retrograde

     Cholangiopancreatography (ERCP), sphincterotomy (cutting of the biliary sphincter), and

     placement of a stent into the common bile duct. However, his discharge neglected to include

     definitive treatment measures consistent with his symptoms and clinical findings. Instead, the

     VA medical providers negligently decided to postpone the surgical removal of the gallbladder

     and planned to do the procedure on an elective basis a month later.

           23.           Upon information and belief, the attending general surgeon, BOWLES,

     Attending Chief of Genera Surgery, DEGENNARO, Resident General Surgeon, BANERJEE,

     Resident General Surgeon CHU, and Resident General Surgeon BURGOS, deviated from the

     prevailing standard of care in their failure to appropriately evaluate, monitor, and treat,

     WILLIAM BRADLEY, during his admittance from June 29, 2016 to July 6, 2016. If said

     physicians had met the standard of care, they would have concluded that WILLIAM

     BRADLEY was suffering from acute cholecystitis (acute inflammation of the gallbladder) and

     taken WILLIAM BRADLEY for the prompt removal of his acute gallbladder.

           24.          Four days later, on July 10, 2016 at 8:11 a.m., WILLIAM BRADLEY again

     returned to the MIAMI VA Emergency Department with the ongoing severe abdominal pain

     and other accompanying symptoms similar to his initial presentation on June 29, 2016. Again,

     his clinical findings were consistent with acute cholecystitis. He was evaluated and then

     discharged at 1:20 p.m. that same day pending, "...our plan for• definitive elective surgical

                                                                6
Case 1:19-cv-21711-UU Document 1 Entered on FLSD Docket 05/01/2019 Page 7 of 28




  WHIZNEY BRADLEY, individually and as Personal Representative of the Estate of WILLIAM BRADLEY, deceased vs. UNITED STATES OF
  AMERICA
  Complaint for Medical Malpractice Under the Federal Tort Claims Act




     treatment as planned." Once again, the MIAMI VA Hospital healthcare providers endorsed

     elective treatment measures but neglected to appropriately address and treat WILLIAM

     BRADLEY'S acute gallbladder disease process. If said physicians had met the standard of care,

     they would have concluded that WILLIAM BRADLEY was suffering from acute cholecystitis

     (acute inflammation of the gallbladder) and taken WILLIAM BRADLEY for the prompt

     removal of his acutely infected gallbladder.

           25.           WILLIAM BRADLEY again returned to the MIAMI VA Emergency

     Department for the third time on July 10, 2016 at 7:50 p.m., which was six hours after the VA

     discharged him earlier in the day. Again, he presented with severe abdominal pain and other

     symptoms that were similar to his presentations to the MIAMI VA on the two prior occasions.

     Again, his clinical findings were consistent with acute cholecystitis.                              The MIAMI VA

     discharged WILLIAM BRADLEY on July 14, 2016, and with instructions to follow up with,

     "...general surgery for elective laparoscopic cholecystectomy" (surgical removal of his

     gallbladder).       Despite WILLIAM BRADLEY's persistent signs and symptoms of acute

     cholecystitis, the MIAMI VA healthcare providers negligently continued to recommend

     elective treatment measures instead of the prompt surgical intervention as required by the

     standard of care. If said physicians had met the standard of care, they would have concluded

     that WILLIAM BRADLEY was suffering from acute cholecystitis (acute inflammation of the

     gallbladder) and taken WILLIAM BRADLEY for the prompt removal of his acute gallbladder.

           26.           Upon information and belief, Resident Internal Medicine/Hospitalist, KAHN,

     Resident Internal Medicine/Hospitalist, OLARTE and Resident General Surgeon, BURGOS,

                                                                7
Case 1:19-cv-21711-UU Document 1 Entered on FLSD Docket 05/01/2019 Page 8 of 28




  WHITNEY BRADLEY, individually and as Personal Representative of the Estate of WILLIAM BRADLEY, deceased vs. UNITED STATES OF
  AMERICA
  Complaint for Medical Malpractice Under the Federal Tort Claims Act




      failed to appropriately evaluate, monitor, and treat WILLIAM BRADLEY during his visits and

     admittance from July 10, 2016 to July 14, 16. If said health care providers had met the standard

     of care, they would have concluded that WILLIAM BRADLEY was suffering from acute

     cholecystitis (acute inflammation of the gallbladder) and taken WILLIAM BRADLEY for the

     prompt removal of his acute gallbladder.

           27.           On July 28, 2016, at approximately 8:02 a.m., WILLIAM BRADLEY returned

     to the MIAMI VA Emergency Department for the fourth time. He presented with the same

     severe abdominal pain and symptoms that were similar to his three previous presentations at

     the MIAMI VA, and he was admitted to the hospital. X-rays of the abdomen taken 1:01 p.m.

     on July 31, 2016 (eighty-three hours following admission), showed findings that were

     consistent with a perforated viscus, a known life-threatening medical emergency. Finally, a CT

     scan of the abdomen was performed. The x-ray findings were confirmed with additional

     diagnostic appraisals indicating an abscessed/perforated gallbladder and a large fluid collection

     behind the liver. An emergent laparoscopic cholecystectomy was undertaken whereupon the

     perforated gangrenous gallbladder and gallstones were removed, and a percutaneous drain was

     placed to remove the significant fluid collection behind the liver. Mr. Bradley was discharged

     on August 2, 2016 with a post-operative visit scheduled for August 10, 2016 with the MIAMI

     VA General Surgery Clinic providers. If said healthcare providers had met the standard of care,

     they would have concluded that WILLIAM BRADLEY was suffering from acute cholecystitis

     (acute inflammation of the gallbladder) and taken WILLIAM BRADLEY for the prompt

     removal of his acute gallbladder.

                                                                8
Case 1:19-cv-21711-UU Document 1 Entered on FLSD Docket 05/01/2019 Page 9 of 28




  WHITNEY BRADLEY, individually and as Personal Representative of the Estate of WILLIAM BRADLEY deceased vs. UNITED STATES OF
  AMERICA
  Complaint for Medical Malpractice Under the Federal Tort Claims Act




           28.           WILLIAM BRADLEY returned to the MIAMI VA General Surgery Clinic on

      August 10, 2016 for a scheduled post-operative follow up with severe abdominal pain and other

      sentinel symptoms associated with early to moderate sepsis.                                  Although WILLIAM

     BRADLEY'S presentation included both his subjective report and objective findings consistent

      with early to moderate sepsis, the MIAMI VA healthcare providers failed to recognize and

     implement the nationally recognized gold standard sepsis protocols as required by the standard

     of care. Consequently, the MIAMI VA Hospital healthcare providers missed the essential

     clinical window where effective treatment could and should have been initiated as required by

     the standard of care. If said healthcare providers had met the standard of care, gold standard

      sepsis protocols would have promptly been initiated.

           29.           An abdominal ultrasound was ordered and done on August 10, 2016 at 10:21

     a.m. by the clinic nurse practitioner IBATA as a diagnostic adjunct to facilitate removal of the

     bile duct stent scheduled for August 30, 2016.                         The radiologist MASAI indicated his

     acknowledgement of WILLIAM BRADLEY'S recent history of gallbladder removal on July

     31, 2016. His finding of a 6 x 5 x 7 cm fluid collection in the gallbladder fossa ten days post-

     cholecystectomy, the: "...probable gallbladder fossa abscess", confirmed a life-threatening

     clinical scenario. However, radiologist MASAI failed to report this critical information to to

     the ordering provider or any member of the general surgery team, which was a significant

     deviation from the standard of care. The radiologist's failure to report an intra-abdominal

     abscess prevented WILLIAM BRADLEY from receiving gold standard sepsis treatment

     protocols within the efficacious treatment window.

                                                                9
Case 1:19-cv-21711-UU Document 1 Entered on FLSD Docket 05/01/2019 Page 10 of 28




   WHITNEY BRADLEY, individually and as Personal Representative of the Estate of WILLIAM BRADLEY deceased vs. UNITED STATES OF
   AMERICA
   Complaint for Medical Malpractice Under the Federal Tort Claims Act




            30.           WILLIAM BRADLEY returned to the MIAMI VA Hospital Emergency

      Department the following day (August 11, 2016 at 10:15 a.m.) in full cardiopulmonary arrest

      and fulminant septic shock due to the abdominal abscess process that was left untreated by the

      MIAMI VA Hospital healthcare providers. WILLIAM BRADLEY'S spontaneous circulation

      was restored, but he remained hemodynamically unstable and in respiratory failure with deadly

      blood chemistry indices and Disseminating Intravascular Coagulation, (DIC) with Multi-Organ

      Failure Syndrome (MODS). Attempts to save WILLIAM BRADLEY failed. Due to the

      substandard medical care by MIAMI VA Hospital, WILLIAM BRADLEY died a protracted

      and agonizing death in the hospital on February 13, 2017.

            3 1.          At all times material hereto, Defendant, UNITED STATES OF AMERICA, by

      and through, MIAMI VETERANS AFFAIRS HEALTHCARE SYSTEM, and its employees,

      agents, and apparent agents, including but not limited to persons named in Paragraph 12 of this

      complaint, had a duty to provide medical care to WILLIAM BRADLEY in accordance with the

      accepted prevailing standard of care.

                         MEDICAL MALPRACTICE OF ROBERT BOWLES, M.D.

            32.          Plaintiff hereby incorporates by reference and realleges the allegations set forth

     in paragraphs 1 through 31 as if fully set forth herein.

            33.          Beginning on or about June 29, 2016, ROBERT BOWLES, M.D., owed a duty

      to WILLIAM BRADLEY to provide appropriate medical care and treatment in accordance with

      the prevailing professional standards of care for physicians and/or similar health care providers

     in light of all the relevant circumstances.

                                                                10
Case 1:19-cv-21711-UU Document 1 Entered on FLSD Docket 05/01/2019 Page 11 of 28




  WHITNEY BRADLEY, individually and as Personal Representative of the Estate of WILLIAM BRADLEY deceased vs. UNITED STATES OF
  AMERICA
  Complaint for Medical Malpractice Under the Federal Tort Claims Act




           34.           Notwithstanding this duty, ROBERT BOWLES, M.D., did or failed to do one

     or more of the following acts, any or all of which were departures from the prevailing standard

     of care:

                           a. Failure to provide clinically justified treatment measures consistent with

                                the presentation and findings.

                           b. Failure to provide appropriate and timely care for a readily treatable acute

                                gallbladder illness resulting in death.

                           c. Persistent endorsement on June 29, 2016 and July 10, 2016 of a "wait and

                                watch" plan of care in the setting of an acute evolving gallbladder disease

                                scenario.

                           d. Delay in implementation of definitive treatment on June 29, 2016, July 10,

                                2016 and July 28, 2016 resulting in gangrenous rupture of the gallbladder.

                           e. Negligent supervision of General Surgery Residents throughout the course

                                of inpatient care.

                           f. Persistent endorsement of a plan of care which failed to ensure definitive

                                treatment measures consistent with the clinical presentation and findings.

                           g. Lack of timely follow-up of abnormal diagnostic imaging test results on

                                August 10, 2016 at a critical clinical juncture resulted in a preventable

                                sentinel event:

                                     i. Infectious progression to fulminant septic shock.

                                    ii. Cardio-pulmonary arrest.

                                                               11
Case 1:19-cv-21711-UU Document 1 Entered on FLSD Docket 05/01/2019 Page 12 of 28




  WHITNEY BRADLEY; individually and as Personal Representative of the Estate of WILLIAM BRADLEY deceased vs. UNITED STATES OF
  AMERICA
  Complaint for Medical Malpractice Under the Federal Tort Claims Act




                                   iii. 182-day inpatient hospital course,

                                   iv. Protracted course of life-threatening illnesses,

                                    v. Death.

                     MEDICAL MALPRACTICE OF MONISHA BANERJEE, M.D.

           35.           Plaintiff hereby incorporates by reference and realleges the allegations set forth

     in paragraphs 1 through 31 as if fully set forth herein.

           36.           Beginning on or about June 29, 2016, MONISHA BANERJEE, M.D., owed a

     duty to WILLIAM BRADLEY to provide appropriate medical care and treatment in accordance

     with the prevailing professional standards of care for physicians and/or similar health care

     providers in light of all the relevant circumstances.

           37.          Notwithstanding this duty, MONISHA BANERJEE, M.D., did or failed to do

     one or more of the following acts, any or all of which were departures from the prevailing

     standard of care:

                          a. Failure to provide appropriate supervision to General Surgery Resident

                               Daylen Burgos, M.D.

                          b. Failure to provide appropriate and timely care for a readily treatable acute

                               gallbladder illness resulting in death.

                          c. Failure to provide definitive treatment measures consistent with the clinical

                               presentation and findings.

                          d. Endorsement of care which failed to ensure definitive treatment measures

                               consistent with the clinical presentation and findings would be provided.

                                                               12
Case 1:19-cv-21711-UU Document 1 Entered on FLSD Docket 05/01/2019 Page 13 of 28




   WHITNEY BRADLEK individually and as Personal Representative of the Estate of WILLIAM BRADLEY, deceased vs. UNITED STATES OF
   AMERICA
   Complaint for Medical Malpractice Under the Federal Tort Claims Ac!




                            e. Endorsement of a plan of care that delayed definitive treatment measures

                                resulting in evolution of the infectious process and gangrenous rupture of

                                 the gallbladder, resulting in protracted acute life-threatening illnesses and

                                 182 inpatient hospital days, and death.

                         MEDICAL MALPRACTICE OF DAYLEN BURGOS, M.D.

            3 8.          Plaintiff hereby incorporates by reference and realleges the allegations set forth

      in paragraphs 1 through 31 as if fully set forth herein.

            39.          Beginning on or about June 29, 2016, and continuing on or about July 10, 2016,

      DAYLEN BURGOS, M.D., owed a duty to WILLIAM BRADLEY to provide appropriate

      medical care and treatment in accordance with the prevailing professional standards of care for

      physicians and/or similar health care providers in light of all the relevant circumstances.

            40.          Notwithstanding this duty, DAYLEN BURGOS, M.D., did or failed to do one

      or more of the following acts, any or all of which were departures from the prevailing standard

      of care:

                           a. Failure to provide appropriate and timely care for a readily treatable acute

                                gallbladder illness resulting in death.

                           b. Failure to provide definitive treatment measures consistent with the clinical

                                presentation and findings.

                           c. Delay in providing definitive treatment resulting in evolution of an

                                infectious process, gangrenous rupture of the gallbladder, 182 inpatient

                                hospital days, and death.

                                                               13
Case 1:19-cv-21711-UU Document 1 Entered on FLSD Docket 05/01/2019 Page 14 of 28




   WHITNEY BRADLEY, individually and as Personal Representative oldie Estate of tVILLIAM BRADLEY, deceased vs. UNITED STATES OF
   AMERICA
   Complaint for Medical Malpractice Under the Federal Tort Claims Act




                              MEDICAL MALPRACTICE OF KEVIN CHU, M.D.

            41.           Plaintiff hereby incorporates by reference and realleges the allegations set forth

      in paragraphs 1 through 31 as if fully set forth herein.

            42.           Beginning on or about July 1, 2016, and continuing on or about July 10, 2016,

      KEVIN CHU, M.D., owed a duty to WILLIAM BRADLEY to provide appropriate medical

      care and treatment in accordance with the prevailing professional standards of care for

      physicians and/or similar health care providers in light of all the relevant circumstances.

            43.           Notwithstanding this duty, KEVIN CHU, M.D., did or failed to do one or more

      of the following acts, any or all of which were departures from the prevailing standard of care:

                            a. Failure to provide appropriate and timely care for a readily treatable acute

                                gallbladder illness resulting in death.

                           b. Failure to provide definitive treatment measures consistent with the clinical

                                presentation and findings.

                           c. Authorizing discharge of Mr. Bradley from the hospital on July 6, 2016

                                despite clinical indications of his persistent acute infection of the

                                gallbladder.

                           d. Endorsement of delay to definitive treatment resulting in evolution of

                                infectious process, gangrenous rupture of the gallbladder, 182 inpatient

                                hospital days and death.




                                                                14
Case 1:19-cv-21711-UU Document 1 Entered on FLSD Docket 05/01/2019 Page 15 of 28




  WHITNEY BRADLEY. individually and as Personal Representative of the Estate of WILLIAM BRADLEY deceased vs. UNITED STATES OF
  AMERICA
  Complaint for Medical Malpractice Under the Federal Tort Claims Act




                    MEDICAL MALPRACTICE OF VINCENT DEGANNERO, M.D.

           44.           Plaintiff hereby incorporates by reference and realleges the allegations set forth

     in paragraphs 1 through 31 as if fully set forth herein.

           45.           Beginning on or about June 29, 2016, and continuing on or about July 10, 2016,

     VINCENT DEGANNERO, M.D., owed a duty to WILLIAM BRADLEY to provide

     appropriate medical care and treatment in accordance with the prevailing professional standards

     of care for physicians and/or similar health care providers in light of all the relevant

     circumstances.

           46.           Notwithstanding this duty, VINCENT DEGANNERO, M.D., did or failed to do

     one or more of the following acts, any or all of which were departures from the prevailing

     standard of care:

                           a. Failure to provide appropriate and timely treatment interventions for a

                               readily treatable acute gallbladder illness resulting in death.

                          b. Negligent supervision of Miami VA Hospital General Surgery Residents

                               and Attending General Surgeons throughout the course of Mr. Bradley's

                               inpatient care.

                           c. Persistent endorsement of a plan of care which failed to ensure

                               implementation of definitive treatment measures consistent with the

                               clinical presentation and findings would be provided.

                           d. Endorsement of the "wait and watch" plan of care which resulted in

                               evolution of an infectious process, gangrenous rupture of the gallbladder,

                                                               15
Case 1:19-cv-21711-UU Document 1 Entered on FLSD Docket 05/01/2019 Page 16 of 28




   WHITNEY BRADLEK individually and as Personal Representative of the Estate of WILLIAM BRADLEY, deceased vs. UNITED STATES OF
   AMERICA
   Complaint for Medical Malpractice Under the Federal Tort Claims Act




                                 182 inpatient hospital days associated with significant protracted life-

                                 threatening illnesses, and death.

                            e. Lack of timely follow-up of abnormal diagnostic imaging test results at a

                                 critical clinical juncture resulted in a sentinel event:

                                      i. Infectious progression to fulminant septic shock.

                                     ii. Cardio-pulmonary arrest.

                                    iii. 182-day inpatient hospital course,

                                    iv. Protracted course of life-threatening illnesses,

                                     v. Death.

                        MEDICAL MALPRACTICE OF MARK GRAEBER, D.P.M.

            47.           Plaintiff hereby incorporates by reference and realleges the allegations set forth

      in paragraphs 1 through 31 as if fully set forth herein.

            48.          Beginning on or about August 10, 2016, MARK GRABBER, D.P.M., owed a

      duty to WILLIAM BRADLEY to provide appropriate medical care and treatment in accordance

      with the prevailing professional standards of care for physicians and/or similar health care

      providers in light of all the relevant circumstances.

            49.          Notwithstanding this duty, MARK GRAEBER, D.P.M., did or failed to do one

      or more of the following acts, any or all of which were departures from the prevailing standard

      of care:

                           a. Failure to recognize and promptly initiate early goal-directed therapy gold

                                standard treatment protocols for sepsis, a life-threatening inflammatory

                                                                16
Case 1:19-cv-21711-UU Document 1 Entered on FLSD Docket 05/01/2019 Page 17 of 28




  WHITNEY BRADLEY, individually and as Personal Representative of the Estate of WILLIAM BRADLEY deceased vs. UNITED STATES OF
  AMERICA
  Complaint for Medical Malpractice Under the Federal Tort Claims Act




                                disorder.

                           b. Although Mr. Bradley met the criterion for Systemic Inflammatory

                               Response Syndrome on presentation both by subjective report and

                                objective findings MARK GRAEBER, D.P.M:

                           c. Authorized Mr. Bradley's discharge from the General Surgery Clinic.

                           d. Failed to confer with Attending General Surgeon JORGE E. URBANDT,

                               M.D., prior to the discharge from the clinic.

                           e. Failure to review the resulted abdominal ultrasound undertaken on August

                                10, 2016 and provide the emergent care necessitated due to a 6 x 5 x 7-

                               centimeter fluid collection revealed in the posterior gallbladder fossa.

                           f. The lack of timely follow-up of abnormal diagnostic imaging test results at

                               this critical clinical juncture resulted in a sentinel event:

                                     i. Unheeded progression to fulminant septic shock.

                                    ii Cardio-pulmonary arrest.

                                   iii. 182-day inpatient hospital course,

                                   iv. Protracted course of life-threatening illnesses.

                                    v. Death.

                          MEDICAL MALPRACTICE OF LISA IBATA, A.R.N.P.

           50.          Plaintiff hereby incorporates by reference and realleges the allegations set forth

    in paragraphs 1 through 31 as if fully set forth herein.



                                                               17
Case 1:19-cv-21711-UU Document 1 Entered on FLSD Docket 05/01/2019 Page 18 of 28




   WHITNEY BRADLEY, individually and as Personal Representative of the Estate of WILLIAM BRADLEY, deceased vs. UNITED STATES OF
   AMERICA
   Complaintfor Medical Malpractice Under the Federal Tort Claims Ad




            5 1.          Beginning on or about August 10, 2016, LISA IBATA, A.R.N.P., owed a duty

      to WILLIAM BRADLEY to provide appropriate medical care and treatment in accordance with

      the prevailing professional standards of care for a nurse practitioner and/or similar health care

      providers in light of all the relevant circumstances.

            52.           Notwithstanding this duty, LISA IBATA, A.R.N.P., did or failed to do one or

      more of the following acts, any or all of which were departures from the prevailing standard of

      care:

                            a. Failure to recognize and provide prompt treatment related to signs and

                                 symptoms of an acute post-operative sepsis presentation in an outpatient

                                 setting.

                           b. Authorizing discharge of Mr. Bradley from the General Surgery Clinic

                                 despite objective indications of acute post-operative sepsis sequelae.

                            c. Failure to involve the General Surgery Attending in the clinical

                                evaluations, diagnoses and plan of care.

                            d. Failure to review, ensure Attending General Surgeon would promptly

                                review and/or ensure emergent care would be provided in association with

                                the abdominal ultrasound she ordered on August 10, 2016 which indicated

                                a 6 x 5 x 7-centimeter collection in the posterior gallbladder fossa.

                           e. Lack of timely follow-up of abnormal diagnostic imaging test results at a

                                critical clinical juncture resulted in a sentinel event:

                                     i. Infectious progression to fulminant septic shock.

                                                                18
Case 1:19-cv-21711-UU Document 1 Entered on FLSD Docket 05/01/2019 Page 19 of 28




  WHITNEY BRADLEY. individually and as Personal Representative of the Estate of WILLIAM BRADLEY, deceased vs. UNITED STATES OF
  AMERICA
  Complaint for Medical Malpractice Under the Federal Tort Claims Act




                                    ii Cardio-pulmonary arrest.

                                   iii. 182-day inpatient hospital course,

                                    iv. Protracted course of life-threatening illnesses,

                                     v. Death.

                         MEDICAL MALPRACTICE OF DEVORAH KAHN, M.D.

           53.           Plaintiff hereby incorporates by reference and realleges the allegations set forth

     in paragraphs 1 through 31 as if fully set forth herein.

           54.           Beginning on or about July 11, 2016, and continuing on or about July 14, 2016,

     DEVORAH KAHN, M.D., owed a duty to WILLIAM BRADLEY to provide appropriate

     medical care and treatment in accordance with the prevailing professional standards of care for

     physicians and/or similar health care providers in light of all the relevant circumstances.

           55.           Notwithstanding this duty, DEVORAH KAHN, M.D., did or failed to do one or

     more of the following acts, any or all of which were departures from the prevailing standard of

     care:

                           a. Failure to provide appropriate and timely care for a readily treatable acute

                                gallbladder illness resulting in death.

                           b. Failure to provide definitive treatment measures consistent with the clinical

                                presentation and findings.

                           c. Endorsing a delay to definitive treatment resulting in gangrenous rupture

                                of the gallbladder, 182-day inpatient hospital course, and significant

                                protracted life-threatening illnesses resulting in death.

                                                                19
Case 1:19-cv-21711-UU Document 1 Entered on FLSD Docket 05/01/2019 Page 20 of 28




  WHITNEY BRADLEY, individually and as Personal Representative of the Estate of WILLIAM BRADLEY, deceased vs. UNITED STATES OF
  AMERICA
  Complaintfor Medical Malpractice Under the Federal Tort Claims Act




                           d. Negligent supervision of First Year Internal Medicine Resident NEIL

                                OLARTE, M.D., on July 14, 2016.

                           e. Endorsement of First Year Resident's discharge of Mr. Bradley on July 14,

                                2016 from the hospital resulting in gangrenous rupture of the gallbladder,

                                and 182-day inpatient hospital course due to necessitated treatments

                                associated with significant protracted life-threatening illnesses resulting in

                                death.


                                MEDICAL MALPRACTICE OF NEIL OLARTE, M.D.

           56.           Plaintiff hereby incorporates by reference and realleges the allegations set forth

     in paragraphs 1 through 31 as if fully set forth herein.

           57.           Beginning on or about July 11, 2016, and continuing on or about July 14, 2016,

     NEIL OLARTE, M.D., owed a duty to WILLIAM BRADLEY to provide appropriate medical

     care and treatment in accordance with the prevailing professional standards of care for

     physicians and/or similar health care providers in light of all the relevant circumstances.

           58.           Notwithstanding this duty, NEIL OLARTE, M.D., did or failed to do one or

     more of the following acts, any or all of which were departures from the prevailing standard of

     care:

                           a. Failure to provide appropriate and timely care for a readily treatable acute

                               gallbladder illness resulting in death.

                          b. Failure to provide definitive treatment measures consistent with the clinical

                               presentation and findings.
                                                       20
Case 1:19-cv-21711-UU Document 1 Entered on FLSD Docket 05/01/2019 Page 21 of 28




  WHITNEY BRADLEY, individually and as Personal Representative of the Estate of WILLIAM BRADLEY, deceased vs. UNITED STATES OF
  AMERICA
  Complaint for Medical Malpractice Under the Federal Tort Claims Act




                           c. Endorsing a delay to definitive treatment resulting in gangrenous rupture

                                of the gallbladder, 182-day inpatient hospital course, and significant

                                protracted life-threatening illnesses resulting in death.

                           d. Discharging Mr. Bradley on July 14, 2016 from the hospital resulting in

                                gangrenous rupture of the gallbladder, and 182-day inpatient hospital

                                course due to necessitated treatments associated with significant protracted

                               life-threatening illnesses resulting in death.

                      MEDICAL MALPRACTICE OF ABRAHAM KASLOW, M.D.

           59.           Plaintiff hereby incorporates by reference and realleges the allegations set forth

     in paragraphs 1 through 31 as if fully set forth herein.

           60.           Beginning on or about July 28, 2016, ABRAHAM KASLOW, M.D., owed a

     duty to WILLIAM BRADLEY to provide appropriate medical care and treatment in accordance

     with the prevailing professional standards of care for physicians and/or similar health care

     providers in light of all the relevant circumstances.

           61.          Notwithstanding this duty, ABRAHAM KASLOW, M.D., did or failed to do

     one or more of the following acts, any or all of which were departures from the prevailing

     standard of care:

                           a. Failure to provide appropriate and timely care for a readily treatable acute

                                gallbladder illness resulting in death.

                          b. Failure to provide definitive treatment measures consistent with the clinical

                               presentation and findings.

                                                               21
Case 1:19-cv-21711-UU Document 1 Entered on FLSD Docket 05/01/2019 Page 22 of 28




  WHITNEY BRADLEY, individually and as Personal Representative of the Estate of WILLIAM BRADLEY deceased vs. UNITED STATES OF
  AMERICA
  Complaint for Medical Malpractice Under the Federal Tort Claims Act




                           c. Failure to correlate Mr. Bradley's clinical presentation to abdominal

                                ultrasound findings.

                           d. Failure to order an abdominal CT scan to clarify radiologic findings

                                resulting in a 79-hour delay to surgical intervention.

                           e. Failure to accurately and timely evaluate, diagnose, and definitively treat

                                an acute infection of the gallbladder resulting in a life threatening intra-

                                abdominal processes:

                                     i. Gangrenous rupture of the gallbladder,

                                    ii. 182-day inpatient hospital course,

                                   iii. Protracted course of life-threatening illnesses, and

                                   iv. Death.

                             MEDICAL MALPRACTICE OF ALEX LALL, M.D.

           62.           Plaintiff hereby incorporates by reference and realleges the allegations set forth

     in paragraphs 1 through 31 as if fully set forth herein.

           63.           Beginning on or about July 28, 2016, and continuing on or about July 29, 2016,

     July 30, 2016, and July 31, 2016 ALEX LALL, M.D., owed a duty to WILLIAM BRADLEY

     to provide appropriate medical care and treatment in accordance with the prevailing

     professional standards of care for physicians and/or similar health care providers in light of all

     the relevant circumstances.

           64.           Notwithstanding this duty, ALEX LALL, M.D., did or failed to do one or more

     of the following acts, any or all of which were departures from the prevailing standard of care:

                                                               22
Case 1:19-cv-21711-UU Document 1 Entered on FLSD Docket 05/01/2019 Page 23 of 28




  WHITNEY BRADLEY, individually and as Personal Representative of the Estate of WILL/AM BRADLEY. deceased vs. UNITED STATES OF
  AMERICA
  Complaint for Medical Malpractice Under the Federal Tort Claims Act




                           a. Failure to provide appropriate and timely care for a readily treatable acute

                                gallbladder illness resulting in death.

                           b. Failure to provide definitive treatment measures consistent with the clinical

                                presentation and findings.

                           c. Failure to correlate Mr. Bradley's clinical presentation to abdominal

                                ultrasound findings.

                           d. Failure to order abdominal CT scan to identify pathologic findings

                               resulting in a 79-hour delay to definitive surgical intervention.

                           e. Failure to accurately and timely evaluate, diagnose, and definitively treat

                                an acute infection of the gallbladder resulting in progression of life

                                threatening intra-abdominal processes:

                                     i. Gangrenous rupture of the gallbladder,

                                    ii. 182-day inpatient hospital course,

                                   iii. Protracted course of life-threatening illnesses, and

                                   iv. Death.

                         MEDICAL MALPRACTICE OF JEFFREY MASAI, M.D.

           65.           Plaintiff hereby incorporates by reference and realleges the allegations set forth

     in paragraphs 1 through 31 as if fully set forth herein.

           66.           Beginning on or about August 10, 2016, JEFFREY MASAI, M.D., owed a duty

     to WILLIAM BRADLEY to provide appropriate medical care and treatment in accordance with

     the prevailing professional standards of care for physicians and/or similar health care providers

                                                               23
Case 1:19-cv-21711-UU Document 1 Entered on FLSD Docket 05/01/2019 Page 24 of 28




  WHITNEY BRADLEY, individually and as Personal Representative of the Estate of WILLIAM BRADLEY deceased vs. UNITED STATES OF
  AMERICA
  Complaint for Medical Malpractice Under the Federal "!Tort Claims Act




     in light of all the relevant circumstances.

           67.           Notwithstanding this duty, JEFFREY MASAI, M.D., did or failed to do one or

     more of the following acts, any or all of which were departures from the prevailing standard of

     care:

                           a. Failure to personally contact Attending Surgeon/Ordering Provider

                               regarding critical abdominal ultrasound findings he documented as:

                                "significant abnormality" a 6 x 5 x 7-centimeter fluid collection in the

                               posterior gallbladder fossa despite his documented clinical appraisal that

                                "attention needed";

                          b. Lack of timely follow-up of abnormal diagnostic imaging test results at a

                               critical clinical juncture resulted in a preventable sentinel event:

                                    i. Infectious progression to fulminant septic shock.

                                    ii. Cardio-pulmonary arrest.

                                   iii. 182-day inpatient hospital course,

                                   iv. Protracted course of life-threatening illnesses, and

                                    v. Death.

                        MEDICAL MALPRACTICE OF JORGE URBANDT, M.D.

           68.          Plaintiff hereby incorporates by reference and realleges the allegations set forth

     in paragraphs 1 through 31 as if fully set forth herein.

           69.          Beginning on or about June 29, 2016, JORGE URBANDT, M.D., owed a duty

     to WILLIAM BRADLEY to provide appropriate medical care and treatment in accordance with

                                                               24
Case 1:19-cv-21711-UU Document 1 Entered on FLSD Docket 05/01/2019 Page 25 of 28




  WHITNEY BRADLEY, individually and as Personal Representative of the Estate of WILLIAM BRADLEY, deceased vs. UNITED STATES OF
  AMERICA
  Complaint for Medical Malpractice Under the Federal Tort Claims Act




     the prevailing professional standards of care for physicians and/or similar health care providers

     in light of all the relevant circumstances.

           70.           Notwithstanding this duty, JORGE URBANDT, M.D., did or failed to do one or

     more of the following acts, any or all of which were departures from the prevailing standard of

     care:

                           a. Failure to provide appropriate and timely care interventions for a readily

                                treatable acute gallbladder illness resulting in death.

                           b. Negligent supervision of General Surgery Residents throughout the course

                                of Mr. Bradley's inpatient care.

                           c. Persistent endorsement of a plan of care which failed to ensure definitive

                                treatment measures consistent with the clinical presentation and findings

                                would be provided.

                           d. Delay in implementation of definitive treatment on June 29, 2016, July 10,

                                2016 and July 28, 2016 resulting in gangrenous rupture of the gallbladder.

                           e. Endorsement of the wait and watch plan of care, which resulted in

                                gangrenous rupture of the gallbladder, 182 inpatient hospital days

                                associated with significant protracted life-threatening illnesses, and death.

                           E Lack of timely follow-up of abnormal diagnostic imaging test results at a

                                critical clinical juncture on August 10, 2016 which resulted in a preventable

                                sentinel event:

                                     i. Infectious progression to fulminant septic shock.

                                                               25
Case 1:19-cv-21711-UU Document 1 Entered on FLSD Docket 05/01/2019 Page 26 of 28




  WHITNEY BRADLEY, individually and us Personal Representative of the Estate of WILLIAM BRADLEY, deceased vs. UNITED STATES OF
  AMERICA
  Complaint for Medical Malpractice Under the Federal Tort Claims Act




                                    ii. Cardio-pulmonary arrest.

                                   iii. 182-day inpatient hospital course,

                                   iv. Protracted course of life-threatening illnesses,

                                     v. Death.

                                                          DAMAGES

           71.           Plaintiff hereby incorporates by reference and realleges the allegations set forth

     in paragraphs 1 through 31, 33, 34, 36, 37, 39, 40, 42, 43, 45, 46, 48, 49, 51, 52, 54, 55, 57, 58,

     60, 61, 63, 64, 66, 67, 69, and 70, including all subparagraphs, as if fully set forth herein.

           72.           As a direct and proximate result of the negligence described herein, WILLIAM

     BRADLEY wrongfully died on February 13, 2017.

           73.           Plaintiff demands all damages recoverable under Fla. Stat. §768.21 of the

     Wrongful Death Act for THE ESTATE OF WILLIAM BRADLEY, deceased, his surviving

     spouse, DALYS BRADLEY, and his surviving statutory minor child, WHITNEY BRADLEY.

           74.          Plaintiff demands judgment for all damages suffered by the Decedent's Estate

     to include:

                          a. Medical and funeral expenses which have been incurred due to the

                               decedent's death;

                          b. Loss of earnings of the deceased from the date of injury to the date of death,

                               less lost support of survivors excluding contributions in kind, with interest.

                          c. Loss of the prospective net accumulations of an estate, which might

                               reasonably have been expected but for the wrongful death, reduced to

                                                               26
Case 1:19-cv-21711-UU Document 1 Entered on FLSD Docket 05/01/2019 Page 27 of 28




  WHITNEY BRADLEY, individually and as Personal Representative of the Estate of WILLIAM BRADLEY, deceased vs. UNITED STATES OF
  AMERICA
  Complaint for Medical Malpractice Under the Federal Tort Claims Act




                                present money value.

                           d. Medical or funeral expenses due to the decedent's injury or death that have

                                become a charge against the estate or that were paid by or on behalf of

                                decedent,

           75.           Plaintiff demands judgment for all damages suffered by DALYS BRADLEY,

     surviving spouse, to include:

                           a. The value of lost support and services from the date of the decedent's injury

                                to her or his death, with interest, and future loss of support and services

                                from the date of death and reduced to present value.

                           b. The loss of the decedent's companionship and protection and for mental

                                pain and suffering from the date of injury.

                           c. Medical or funeral expenses due to the decedent's injury or death.

           76.           Plaintiff demands judgment for all damages suffered by WHITNEY

     BRADLEY, surviving statutory minor child, to include:

                           a. The value of lost support and services from the date of the decedent's injury

                                to her or his death, with interest, and future loss of support and services

                                from the date of death and reduced to present value.

                           b. Lost parental companionship, instruction, and guidance and for mental pain

                                and suffering from the date of injury.

                           c. Medical or funeral expenses due to the decedent's injury or death.



                                                                27
Case 1:19-cv-21711-UU Document 1 Entered on FLSD Docket 05/01/2019 Page 28 of 28




  WHITNEY BRADLEE individually and as Personal Representative of the Estate of WILLIAMBRADLEY, deceased vs. UNITED STATES OF
  AMERICA
  Complaint for Medical Malpractice Under the Federal Tort Claims Act




           WHEREFORE, the Plaintiff, WHITNEY BRADLEY, as Personal Representative of

   THE ESTATE OF WILLIAM BRADLEY, deceased, and surviving statutory child demands

  judgment for $9,000,000.00 against the Defendant, UNITED STATES OF AMERICA, for all

   damages recoverable under the laws of the State of Florida for damages and further demands

  trial on all issues so triable.



                                                  Respectfully Submitted,

                                                  Searcy Denney Scarola Barnhart & Shipley, P.A.
                                                  Attorneys for Plaintiff
                                                  2139 Palm Beach Lakes Boulevard
                                                  West Palm Beach, Florida 33409
                                                  Phone: (561) 686-6300/Fax: (561) 383-9503

                                                  By:/s/ Edward V. Ricci
                                                  Edward V. Ricci
                                                  evr@searcylaw.com; ricciteam@searcylaw.com
                                                  Florida Bar No. 39079




                                                               28
